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                        UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
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11   DESIREE MERCADO,                                Case No. 1:20-cv-00161-NONE-SAB

12                 Plaintiff,                        ORDER DIRECTING CLERK OF COURT
                                                     TO SERVE FINDINGS AND
13          v.                                       RECOMMENDATIONS ON PLAINTIFF
                                                     MERCADO
14   COUNTY OF MERCED, et al.,

15                 Defendants.

16

17          On January 6, 2020, findings and recommendations issued recommending this action be

18 dismissed for Plaintiff’s failure to comply and failure to prosecute.   The Court HEREBY

19 DIRECTS the Clerk of the Court to serve the January 6, 2020 findings and recommendations
20 (ECF No. 57) on Plaintiff Mercado at 1625 Richland Avenue, Apt. 24, Ceres, CA, 95307 and by

21 email at mercadoviktoria@gmail.com.

22
     IT IS SO ORDERED.
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24 Dated:     January 6, 2021
                                                     UNITED STATES MAGISTRATE JUDGE
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